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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

TRITA PARSI

and

NATIONAL IRANIAN AMERICAN COUNCIL
Plaintiffs,
V. Civil No. 08 CV 00705

SEID HASSAN DAIOLESLAM

Defendant.

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CONSENT
MOTION TO EXTEND TIME TO RESPOND
TO DEFENDANT'S MOTION FOR AN ORDER REQUIRING
PLAINTIFFS TO POST A BOND AND NOT WASTE ASSETS
COME NOW Plaintiffs Trita Parsi and National Iranian American Council (hereinafter
"NIAC"), by and through undersigned counsel, and hereby respectfully requests, with the
consent of the Defendant, that the Plaintiffs’ time to respond to the Defendant's Motion for an
Order Requiring Plaintiffs to Post a Bond and Not Waste Assets be extended from the current
deadline of February 17, 2012, to March 5, 2012, and in support of such Motion states the
following:
1. That the Defendant has consented to an extension of the Plaintiffs’ time to respond from
February 17, 2012, to March 5, 2012.
2. That the above-captioned matter involves 16 exhibits and hundreds of pages of

documents, and it would be in the interest of justice to allow more time for the Plaintiffs’

response.
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3. That no prejudice would be caused to any party, or to this Court, by such an extension.
WHEREFORE, the Plaintiffs respectfully request that this Court extend the time to respond from

the current deadline of February 17, 2012, to March 5, 2012.

Respectfully submitted,

[S/
A.P. Pishevar (D.C. Bar No. 451015)
PISHEVAR & ASSOCIATES, P.C.
600 East Jefferson Street, Suite 316
Rockville, MD 20852
Phone: (301) 279 — 8773
Fax: (301) 279 — 7347
Counsel for the Plaintiffs
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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

TRITA PARSI, et al.
Plaintiffs,
v. Civil Action No. 08 CV 00705 (JDB)
SEID HASSAN DAIOLESLAM,
Defendant. )
CERTIFICATE OF SERVICE

I hereby Certify that a copy of the foregoing was emailed on February 9, 2012, to counsel

for Defendant, at:

Timothy E. Kapshandy, Esquire
Peter G. Jensen, Esquire
SIDLEY AUSTIN LLP

1501 K Street, N.W.
Washington, D.C. 20005

(202) 736-8000

tkapshandy @sidley.com

Attorneys for Defendant
Seid Hassan Daioleslam

/s/
Afshin Pishevar
PISHEVAR & ASSOCIATES, P.C.
600 East Jefferson Street
Suite 316
Rockville, Maryland 20852
(301) 279-8773
ap @pishevarlegal.com

Attorneys for Plaintiff
Trita Parsi
National Iranian American Council
